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                      UNITED STATES COURT OF APPEALS                      FILED
                             FOR THE NINTH CIRCUIT                         SEP 19 2023
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS


CHARLES NICHOLS,                                 No.    14-55873

                  Plaintiff-Appellant,           D.C. No.
                                                 2:11-cv-09916-SJO-SS
 v.                                              Central District of California,
                                                 Los Angeles
GAVIN NEWSOM, in his official capacity
as Governor of California; ROB BONTA, in         ORDER
his official capacity as Attorney General of
California,*

                  Defendants-Appellees.

Before: BERZON and BYBEE, Circuit Judges, and GLEASON,** District Judge.

      The panel unanimously voted to deny appellant’s petition for rehearing and

recommends denial of the petition for rehearing en banc. The full court has been

advised of the petition for rehearing en banc, and no judge has requested a vote on

whether to rehear the matter en banc. Fed. R. App. P. 35. The petition for

rehearing and the petition for rehearing en banc are DENIED.




      *
              Pursuant to Federal Rule of Appellate Procedure 43(c)(2), Rob Bonta
is substituted for his predecessor, Xavier Becerra, as Attorney General of
California.
       **
              The Honorable Sharon L. Gleason, Chief United States District Judge
for the District of Alaska, sitting by designation.
       Case: 14-55873, 09/19/2023, ID: 12794651, DktEntry: 152, Page 2 of 2




     The motions for leave to file amicus curiae briefs by Brady Center to

Prevent Gun Violence, Everytown for Gun Safety, and Law Center to Prevent Gun

Violence are DENIED as moot.




                                        2
